From:K.J.8.R.Case 3:17-cv-01892-SReosDicsimeab28 Filed 41/24/29:12P age 1 Of deso p.cos/oos

UNITED STATES DISTRICT COURT
DISTRICT OF CONNECTICUT

KELWYNN WESTLEY AND SHEALA
WESTLEY

CIVIL ACTION NO.:
3:17-cv-01892-SRU
Plaintiffs,

Vv.

NERMIN MEHONIC AND VM TRANS
LLC,

Defendants NOVEMBER 20, 2019

STIPULATION FOR DISMISSAL
Pursuant to Fed.R. Civ. P. 41(a)(1 )(A)(ii), the parties hereby notify the Court that this
matter is settled and stipulate to a dismissal of the above-captioned action with prejudice, no
interest or costs.

Respectfully submitted,

    

 

 

Plaintiffs Defendants

Kelwynn Westle f Nermin Mehonic _

Sheala/ estle i # , '

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